     Case: 1:21-cv-03015 Document #: 5 Filed: 06/09/21 Page 1 of 6 PageID #:12
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                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION



                                                                                                        FILED
                                                                                                              JUN -928?/t?ylo

                                                                                                     cLEnf,tKBBf#8l8Brn'
(Enter above the full name
of the plaintiff or plaintiffs in
this action)

                                                            case    No: t\- 0V- 03015
                                                            (To be supplied by the Clerk of this                           Court)


p                                                     lur5e
                                                       r\nogr{rq\t s'dS, n,'*,t va'usz
                                                                                        Edmond E. Ch^nq

Wot                                ,u,r[ o$ rJ^rntrvr




(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

CHECK ONE           ONLY:                                   AMENDED COMPLAINT

                   CoMPLATNT             t   IDERTHE         CML        RIGHTS ACT, TrTLE 42 SECTION 1983
                   U.S. Code (state, county, or municipal defendants)

                   COMPLAINT UNDER THE CONSTITUTION ("BMNS" ACTION), TITLE
                   28 SECTION 1331 U.S. Code (federal defendants)

 (                 OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING.'I FOLLOW THESE INSTRUCTIONS CAREFULLY,




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I.      Plaintiff(s):

        A.          Name:

        B.          List all aliases:

        C.          Prisoner identifi cation number:

        D.          Place of present confinement:

        E.

        (If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, LD.
        number, place of confinement, and current address according to the above format on a
        separate sheet of paper.)

II.     Defendant(s):
        (In A below, place the full name of the first defendant in the first blank, his or her official
        position in the second blank, and his or her place of employment in the third blank. Space
        for two additional defendants is provided in B and C.)

        A.          Defendant:

                    Title:                                                                                                              bun.[0",$t\

                    Place of Employment:                                                                                                bo).,,

        B.

                    Title:

                    ptaceorEmptoyment:                I [oo\h Dpnnhonq S, i{t                              \0\ , ( tT^lIL bobtX
        C.          Derendant: 5\e              ll& f,snts - tOtarna,n
                    Title:

                    Place of Employment:

        (If you have more than three defendants, then all additional defendants must be listed
        according to the above format on a separate sheet of paper.)




                                                                                                                       Revised 9/2007




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              [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




IIL      List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
         court in the United States:

         A.          Name of case and docket number:


         B.          Approximate date of filing lawsuit:

         C.          List all plaintiffs (if you had co-plaintiffs), including any aliases:




         D.          List all defendants:




         E.          Court in which the lawsuit was filed (if federal court, name the district; if state court,
                     name the county):

         F.          Name ofjudge to whom case was assigned:



        G.           Basic claim made:




        H.           Disposition of this case (for example: Was the case dismissed? Was it appealed?
                     Is it still pending?):




                     Approximate date of disposition:


IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                                                                                        Revised 9/2007




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ry.     Statement of Claim:

        State here as briefly as possible the facts of your case. Describe how each defendant is
        involved, including names, dates, and places. Do not give any legal arguments or cite any
        cases or statutes. If you intend to allege a number of related claims, number and set forth
        each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
        if   necessary.)




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                                                                                                                       Revised 9/2007




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     Case: 1:21-cv-03015 Document #: 5 Filed: 06/09/21 Page 6 of 6 PageID #:17

         [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




V.      Relief:

        State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
        no cases or statutes.




                                                                                                                                    x tb*u
VI.    The plaintiff demands that the case be tried by                   a   jury. N/VES
                                                                                                                                    .tl/v   &md
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                                                                         CERTIFICATION                                       (;om${rn[o*t d
                                       By signing this Complaint,      I certi$ that the facts stated in this
                                       Complaint are true to the best of my knowledge, information and
                                       belief. I understand that if this certification is not correct, I may be
                                       subject to sanctions by the Court.

                                       Signedthis         Tth         dayof f,VnU ,20 E.'\



                                       (Signature of plaintiff or plaintiffs)


                                       (Print name)


                                       (I.D. Number)


                                           t0 555              S   , Rhnl^,s

                                       (Address)




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